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 7
 8                   IN THE UNITED STATES DISTRICT COURT

 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     ) CR S-2:12-0294 MCE
                                   )
12                    Plaintiff, ) STIPULATION AND ORDER
                                   ) RESETTING STATUS CONFERENCE,
13                v.               ) AND EXCLUDING TIME UNDER THE
                                   ) SPEEDY TRIAL ACT
14   BART WAYNE VOLEN,             )
     GREGORY SCOTT BAKER, and      )
15   DARRELL PATRICK HINZ,         )
                                   )
16                                 )
                       Defendants. )
17   _____________________________)
18
          The United States of America, through its counsels of record,
19
     Benjamin B. Wagner, United States Attorney for the Eastern District
20
     of California, and Michael M. Beckwith, Assistant United States
21
     Attorney, defendant Bart Wayne Volen, through his counsel of record,
22
     Matthew G. Jacobs, defendant Gregory Scott Baker, through his
23
     counsel of record, Thomas A. Johnson, and defendant Darrell Patrick
24
     Hinz, through his counsel of record, William J. Portanova, hereby
25
     stipulate and agree that the status conference set for November 1,
26
     2012, be continued to January 17, 2013, and stipulate that the time
27
     beginning November 1, 2012, and extending through January 17, 2013,
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 1   should be excluded from the calculation of time under the Speedy
 2   Trial Act.   The parties submit that the ends of justice are served

 3   by the Court excluding such time, so that counsel for each defendant
 4   may have reasonable time necessary for effective preparation, taking

 5   into account the exercise of due diligence.         18 U.S.C. §
 6    3161(h)(7)(B)(iv); Local Code T4.         The attorneys for each defendant

 7   need more time to prepare, which will include reviewing discovery,
 8   discussing that discovery with their respective clients, considering

 9   new evidence that may affect the disposition of this case,
10   conducting necessary research and investigation and then discussing

11   with their clients how to proceed.         The parties stipulate and agree
12   that the interests of justice served by granting this continuance

13   outweigh the best interests of the public and the defendants in a
14   speedy trial. 18 U.S.C. §    3161(h)(7)(B)(iv) and (B)(ii).

15   IT IS SO STIPULATED.
16                                              BENJAMIN B. WAGNER
                                                United States Attorney
17
18   Dated: October 30, 2012          By:       /s/ Michael M. Beckwith
                                                MICHAEL M. BECKWITH
19                                              Assistant U.S. Attorney
                                                Attorney for Plaintiff
20
     Dated: October 30, 2012          By:       /s/ Matthew G. Jacobs
21                                              MATTHEW G. JACOBS
                                                Attorney for Defendant
22                                              BART WAYNE VOLEN
23   Dated: October 30, 2012           By: /s/ Thomas A. Johnson
                                           THOMAS A. JOHNSON
24                                         Attorney for Defendant
                                           GREGORY SCOTT BAKER
25
26   Dated: October 30, 2012           By: /s/ William J. Portanova
                                           WILLIAM J. PORTANOVA
27                                         Attorney for Defendant
                                           DARRELL PATRICK HINZ
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 1
                                        ORDER
 2
          UPON GOOD CAUSE SHOWN and by stipulation of all parties, it is
 3
     hereby ordered that this matter be set for further status conference
 4
     on January 17, 2013 at 9:00 a.m. in Courtroom No. 7.
 5
          The Court finds excludable time as set forth above to and
 6
     including January 17, 2013.
 7
          IT IS SO ORDERED.
 8

 9
     Dated: October 31, 2012
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11                                      _____________________________
                                        MORRISON C. ENGLAND, JR.
12                                      UNITED STATES DISTRICT JUDGE
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